                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                              3:22-cr-00016-RJC-DSC

JUAN OCTAVIO IREBE LAVEAGA,         )
                                    )
                  Petitioner,       )
                                    )
vs.                                 )                         ORDER
                                    )
                                    )
UNITED STATES OF AMERICA,           )
                                    )
                  Respondent.       )
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       THIS MATTER is before the Court on Petitioner’s Pro Se Motion to Vacate Sentence

under 28 U.S.C. § 2255. [Doc. 37].

I.     BACKGROUND

       On January 20, 2022, Petitioner Juan Octavio Irebe Laveaga (“Petitioner”) was charged in

a Bill of Indictment with one count of conspiracy to distribute and possess with intent to distribute

500 grams or more of methamphetamine mixture in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(A), and 846 (Count One); one count of aiding and abetting the possession with intent to

distribute 500 grams or more of methamphetamine mixture in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(A), and 2 (Count Two); one count of aiding and abetting the distribution of 500 grams

or more of methamphetamine mixture in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 2

(Count Three); and one count of aiding and abetting the distribution of 50 grams or more of

methamphetamine mixture in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B), and 2 (Count

Four). [Doc. 3: Bill of Indictment].

       Petitioner agreed to plead guilty to Counts One and Two and the Government agreed to

dismiss Counts Three and Four. [Doc. 19 at ¶¶ 1-2: Plea Agreement]. After a Rule 11 hearing, a
Magistrate Judge accepted Petitioner’s guilty plea, finding it knowingly and voluntarily made.

[Doc. 21: Acceptance and Entry of Guilty Plea]. Before sentencing, a probation officer prepared

a Presentence Investigation Report (PSR). [Doc. 27: PSR]. The probation officer recommended

a total offense level of 40 and computed a criminal history category of I, yielding an advisory

guideline range of 292 to 365 months’ imprisonment. [Id. at ¶¶ 38, 43, 64]. The Court adopted

the PSR without change and sentenced Petitioner to concurrent terms of imprisonment of 292

months on Counts One and Two. [Doc. 31 at 2: Judgment; Doc. 32: Statement of Reasons].

Judgment on Petitioner’s conviction was entered on October 27, 2022. [Id. at 1]. Petitioner did

not file a direct appeal.

        On March 5, 2024, Petitioner filed the pending motion to vacate sentence under 28 U.S.C.

§ 2255. [Doc. 37; id. at 12]. Petitioner asserts three primary claims for relief: (1) ineffective

assistance of counsel for failing to file a direct appeal despite Petitioner’s “wish to appeal” and to

explain “appeal issues;” (2) ineffective assistance for failing “to explain and discuss options and

alternatives” and ignoring “Petitioner’s question to opt to trial;” and (3) Petitioner’s guilty plea

was involuntary and unknowing “due to Counsel’s misleading, inaccurate, deceptive, and ommited

[sic] set of facts and advice.” [Id. at 4-6]. Petitioner alleges that he would have proceeded to trial

if his attorney had explained the charges, the Sentencing Guidelines and Petitioner’s offense level,

investigated the facts, and challenged all “evidence statements” used against Petitioner. [Id. at 7;

Doc. 37-1 at ¶¶ 7, 9]. For relief, Petitioner seeks an evidentiary hearing. [Id. at 12]. He also asks

the Court to appoint counsel. [Id.].

        Petitioner addresses timeliness in his petition. [Id. at 10]. Petitioner argues he is entitled

to equitable tolling because “he has been exercising due diligence in which to file his motion,” but

“the COVID-19 created hardships, institutional restrictions, no access to legal material or law



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library, transfers, and hold overs while being in transit,” which impeded Petitioner’s timely filing

a notice of appeal and the pending motion to vacate. [Id.; see Doc. 37-1 at ¶¶ 3-6].

II.    STANDARD OF REVIEW
       A federal prisoner claiming that his “sentence was imposed in violation of the Constitution

or the laws of the United States, or that the court was without jurisdiction to impose such sentence,

or that the sentence was in excess of the maximum authorized by law, or is otherwise subject to

collateral attack, may move the court which imposed the sentence to vacate, set aside or correct

the sentence.” 28 U.S.C. § 2255(a).

       Rule 4(b) of the Rules Governing Section 2255 Proceedings provides that courts are to

promptly examine motions to vacate, along with “any attached exhibits and the record of prior

proceedings . . .” in order to determine whether the petitioner is entitled to any relief on the claims

set forth therein. After examining the record in this matter, the Court finds that Petitioner’s motion

can be resolved without an evidentiary hearing based on the record and governing law. See Raines

v. United States, 423 F.2d 526, 529 (4th Cir. 1970).

III.   ANALYSIS

       In 1996, Congress enacted the Antiterrorism and Effective Death Penalty Act (the

“AEDPA”). Among other things, the AEDPA amended 28 U.S.C. § 2255 by imposing a one-year

statute of limitations period for the filing of a motion to vacate. Such amendment provides:

               A 1-year period of limitation shall apply to a motion under this
               section. The limitation period shall run from the latest of-

               (1) the date on which the judgment of conviction becomes final;

               (2) the date on which the impediment to making a motion created by
               governmental action in violation of the Constitution or laws of the
               United States is removed, if the movant was prevented from making
               a motion by such governmental action;

               (3) the date on which the right asserted was initially recognized by

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                 the Supreme Court and made retroactively applicable to cases on
                 collateral review; or

                 (4) the date on which the facts supporting the claim or claims
                 presented could have been discovered through the exercise of due
                 diligence.

28 U.S.C. § 2255(f).

          Here, Petitioner’s conviction became final for purposes of § 2255(f) on November 10,

2022, when his deadline to appeal expired. Fed. R. App. P. 4(b)(1)(A); see United States v. Clay,

537 U.S. 522, 524-25 (2003) (when a defendant does not appeal, his conviction becomes final

when the opportunity to appeal expires). Petitioner, however, did not file the pending motion to

vacate until March 5, 2024, nearly 16 months later. Thus, Petitioner’s motion to vacate is untimely,

see 28 U.S.C. § 2255(f)(1), unless he shows he is entitled to equitable tolling.

          To be entitled to equitable tolling, “an otherwise time-barred petitioner must present ‘(1)

extraordinary circumstances, (2) beyond his control or external to his own conduct, (3) that

prevented him from filing on time.’” United States v. Sosa, 364 F.3d 507, 512 (4th Cir. 2004)

(quoting Rouse v. Lee, 339 F.3d 238, 246 (4th Cir. 2003), cert. denied, 541 U.S. 905, 124 S. Ct.

1605 (2004)). A petitioner must show he has been “pursuing his rights diligently.” Holland v.

Florida, 560 U.S. 631, 649 (2010). Further, equitable tolling is limited to “rare instances – where

due to circumstances external to the party’s own conduct – it would be unconscionable to enforce

the limitation period against the party and gross injustice would result.” Whiteside v. United

States, 775 F.3d 180, 184 (4th Cir. 2014) (quoting Rouse v. Lee, 339 F.3d 238, 246 (4th Cir.

2003)).

          In support of equitable tolling, Petitioner vaguely argues that he was unable to timely file

his § 2255 motion because of Covid-related institutional restrictions, limitations on access to legal

materials and a law library, and transfers and “hold overs.” Petitioner has plainly not shown that

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he was prevented from timely filing this motion. Nor does it appear that a gross injustice would

result from enforcing the limitations period against Petitioner. Because Petitioner addressed the

timeliness issue in his original petition, the Court need not provide Petitioner any additional

opportunities to address this issue. See Whitener v. United States, No. 3:14-cv-600-MOC, 2014

WL 7339188 (Dec. 23, 2014); Cureton v. United States, 2007 WL 1651437, n.1 (W.D.N.C. June

2, 2007). As such, Petitioner’s motion is untimely under § 2255(f) and equitable tolling does not

apply. The Court will, therefore, dismiss Petitioner’s motion to vacate on initial review and deny

Petitioner’s request for counsel as moot.

IV.    CONCLUSION

       For the reasons stated herein, Petitioner’s motion to vacate under 28 U.S.C. § 2255 is

untimely and is denied and dismissed with prejudice.

       The Court further finds that Petitioner has not made a substantial showing of a denial of a

constitutional right. See generally 28 U.S.C. § 2253(c)(2); see also Miller-El v. Cockrell, 537 U.S.

322, 336-38 (2003) (to satisfy § 2253(c), a “petitioner must demonstrate that reasonable jurists

would find the district court’s assessment of the constitutional claims debatable or wrong”) (citing

Slack v. McDaniel, 529 U.S. 473, 484-85 (2000)). Petitioner has failed to demonstrate both that

this Court’s dispositive procedural rulings are debatable, and that the Motion to Vacate states a

debatable claim of the denial of a constitutional right. Slack v. McDaniel, 529 U.S. at 484-85. As

a result, the Court declines to issue a certificate of appealability. See Rule 11(a), Rules Governing

Section 2255 Proceedings for the United States District Courts, 28 U.S.C. § 2255.

                                             ORDER

       IT IS, THEREFORE, ORDERED that Petitioner’s Motion to Vacate Sentence under 28

U.S.C. § 2255 [Doc. 37] is DENIED and DISMISSED WITH PREJUDICE.



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       IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing Section

2254 and Section 2255 Cases, this Court declines to issue a certificate of appealability.
 Signed: March 29, 2024




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